Case 2:03-cr-20305-SH|\/| Document 12 Filed 07/20/05 Page 1 of 2 Page|D 8

IN THE UNITED STATES DISTRICT coURT F*’»f':t?-"“ kill D.C.
FoR THE WESTERN DisrRicT oF TENNESSEE

 

 

UNITED STATES OF AMERICA

V. 03-203 05-Ma

DAMIEN HUGHES

 

ORDER ON ARRAIGNMENT

 

This cause came to be heard on Q(,LL) g 0, go 05- , the United States Attorney
for this district appeared on behalf of the Bvern#ient, and the defendant appeared in person and with
counsel:

 

t §§
NAME dd J Who is Retained/Appointed.

Thel defendant, through counsel, waived formal arraignment and entered a plea of not guilty.

All motions shall be filed within thirty (30) days ii'om the date hereof unless, for good cause
shown to a District Judge, such period is extended

The defendant, who is not in custody, may stand on his present bond.
The defendant, (not having made bond) (being a state prisoner) (being a federal prisoner)
(being held without bond pursuant toBRA of 1984), is remanded to the custody of the U.S. Marshal.

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UNITED STATES MAGISTRATE .TUDGE

 

CHARGES: 18:922(g);

U. S. Attorney assigned to Case: S. Canale

Age: 2§

This dccl,ment entered on the docket sheet ln co pflaan
wnh H.ue 55 and/or 32:b) FF\ch on Z___M'-'Z» °'

   

UNITED sTATEs DISTRICT OURT - WESRNTE DITRIT OF EESSEE

Notice of Distribution

This notice confirms a copy ofthe document docketed as number 12 in
case 2:03-CR-20305 Was distributed by faX, mail, or direct printing on
July 21, 2005 to the parties listed.

 

 

April Rose Goode

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U.S. ATTORNEY'S OFFICE
167 N. Main St.

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Honorable Samuel Mays
US DISTRICT COURT

